

People v Walker (2019 NY Slip Op 06874)





People v Walker


2019 NY Slip Op 06874


Decided on September 26, 2019


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 26, 2019

Friedman, J.P., Renwick, Tom, Gesmer, Oing, JJ.


4442/15 -4612/15 9934B 1051/16 9934A 9934

[*1] The People of the State of New York, Respondent,
vDavid Walker, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Susan Epstein of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Ross D. Mazer of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from judgments of the Supreme Court, New York County (Laura A. Ward, J.), rendered August 15, 2016,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgments so appealed from be and the same are hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: SEPTEMBER 26, 2019
CLERK
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate
Division, First Department.








